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                             UNITED STATES FEDERAL DISTRICT COURT
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                     CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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11   DGF WORLDWIDE ENTERTAINMENT                         CASE NO. 2:14-mc-00632-UA
12   GROUP, LLC and DANIEL G. FAINMAN,
                                                         [PROPOSED] ORDER GRANTING SPECIAL
13                                                       APPOINTMENT TO SERVE PROCESS
                    Plaintiffs,
14                                                       FRCP 4(c); LR 19.2, 19.3
            vs.
                                                         [No Hearing Required]
15
     CHASING 3000 FILMS, LLC; PRETTY
16   DANGEROUS FILMS, LLC; VELOCITY
     PICTURES, LLC; RYAN JOHNSON, and
17   PATRICK GALLAGHER

18                  Defendants.

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22          Having considered the request of PLAINTIFFS/JUDGMENT CREDITORS DGF
23   WORLDWIDE ENTERTAINMENT GROUP, LLC and DANIEL G. FAINMAN, collectively
24   referred herein as the (“ Judgment Creditors”), pursuant to the provisions of Rule 4(c) of the Federal
25   Rules of Civil Procedure and Rule 4, 5 and 64-2 of the Local Rules of Practice of the United States
26   District Court for the Central District of California, to designate Janney & Janney, a registered
27   California process server whose business address is 1545 Wilshire Blvd., Los Angeles, CA 90017,
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                                                 1
                  [PROPOSED] ORDER GRANTING SPECIAL APPOINTMENT TO SERVE PROCESS
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 1   as an authorized and specially appointed process server in this action; and

 2          Having considered Judgment Creditors’ request that the Court authorize Janney & Janney to

 3   serve any Writs of Attachment, Writs of Execution and other judgment enforcement; and

 4          Having considered Judgment Creditors’ request that the U.S. Marshall’s Office remain the

 5   Levying Officer.

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 7          IT IS HEREBY ORDERED THAT the Creditors’ requests are granted. Janney & Janney is

 8   appointed to serve any Writs of Attachment and Writs of Execution and other judgment enforcement

 9   items necessary in this action. It is further ordered that the U.S. Marshall’s Office shall remain the

10   Levying Officer.

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13          DATED:                                                ____________________________

14                                                                JUDGE OF THE FEDERAL COURT

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                 [PROPOSED] ORDER GRANTING SPECIAL APPOINTMENT TO SERVE PROCESS
